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Connecticut Local Form Chapter 13 Plan 01/04/2019

UNITED STATES BANKRUPTCY COURT
DISTRICT OF CONNECTICUT

 

Oi CRUSE Ee mcm Kaiti Am ceili meee his

 

 

 

 

 

 

 

 

 

 

Debtor 1* LLINDA CAROL BREWER
First Name Middle Name Last Name
Social Security Number: XXX - XX -|1}/2|/3 {iL
(Enter only iy 4 digits) CHAPTER 13 PLAN
Debtor 2*

 

 

 

 

 

 

 

Spouse, if filing ”
First Name Middle Name Last Name

Social Security Number: XXX - XX - [| [| [| [|

(Enter only last 4 digits)

 

 

 

Case number| 19-20549

 

 

 

 

 

 

 

 

 

 

(If known)
*For purposes of this Chapter 13 Plan, "Debtor" means "Debtors" where applicable.
[x] Original Plan
LJ Amended Plan (Indicate Ist, 2nd, etc.) ECF No. of prior plan
CL] Modified Plan (Indicate Ist, 2nd, etc.) ECF No. of prior plan

 

 

 

 

 

 

Amended Plan: Only complete this section if this is an amended plan before confirmation.
Sections of the Plan that have been amended (list):
Plan Section(s) Amendment(s) (Describe)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

If your plan amendment affects all creditors of a certain class (secured, priority or unsecured non-priority)
check each class of creditors affected. If the changes above affect only individual creditors, list each below.

All Creditors (check all that apply):
[-] secured
[] priority
[|] unsecured, non-priority
[-] The amendment affects individual creditors. List each below.

 

Creditor Name(s) Proof of Claim Number ~ Type of Claim

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Modified Plan: Only complete this section if this is a modified plan after confirmation.
Sections of the Plan that have been modified (list):

 
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Plan Section(s) Modification(s) (Describe)

| |

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

If your plan modification affects all creditors of a certain class (secured, priority or unsecured non-priority)
check each class of creditors affected. If the changes above affect only individual creditors, list each below.
All Creditors (check all that apply):
[-] secured
[| priority
{-] unsecured, non-priority
(_] The modification affects individual creditors. List each below.

 

Creditor Name(s) Proof of Claim Number Type of Claim

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

To Debtors: Plans that do not comply with local rules and judicial rulings may not be confirmable.
All plans, amended plans and modified plans shall be served upon all creditors by the
Debtor and a certificate of service shall be filed with the Clerk.

"Collateral" as used in this Chapter 13 Plan means the property securing a claim.

If the Debtor intends to determine the secured status of a claim pursuant to 11 U.S.C. §
506, or if the Debtor intends to avoid the fixing of a lien that impairs the Debtor's
exemption pursuant to 11 U.S.C. § 522(f), then the Debtor must do two things: (1)
indicate the Debtor's intention in this Chapter 13 Plan in the space below; and (2) file a
separate motion pursuant to 11 U.S.C. § 506 or 11 U.S.C. § 522(f) following the
Contested Matter Procedure or local rules adopted after December 1, 2017. Ifa separate
motion is not filed then the Debtor will not be entitled to relief pursuant to 11 U.S.C. §
506 or 11 U.S.C. § 522(f).

The Debtor must check the appropriate box (Included or Not Included) in the chart
below. If an item is checked as "Not Included," or if both boxes are checked, the
provision will be ineffective if later set out in this Chapter 13 Plan.

 

 

 

 

 

 

 

The valuation of a secured claim pursuant to 11 U.S.C. § 506, set out in Not
Section 3.2, which may result in a partial payment or no payment at all to |x] Included CJ Included
the secured creditor.

Avoidance of a judicial lien or nonpossessory, nonpurchase-money security Cl] Included | iJ Not
interest pursuant to 11 U.S.C. § 522(f), set out in Section 3.3. Included
Assumption or rejection of executory contracts or unexpired leases pursuant Not

to 11 U.S.C. § 365, set out in Section VI. [1 Included | [x] Included

 

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To Creditors: Your rights may be affected by this Chapter 13 Plan. You must file a timely proof of
claim in order to be paid. See Fed.R.Bankr.P. 3002. Your claim may be modified or
eliminated. You should read this Chapter 13 Plan carefully and discuss it with your
attorney if you have one in this bankruptcy case. If you do not have an attorney, you may
wish to consult one.

If you oppose the Chapter 13 Plan's treatment of your claim or any provision of this
Chapter 13 Plan, you or your attorney must file an objection to confirmation no Jater
than 7 days before the date set for confirmation of the Chapter 13 Plan, unless
otherwise ordered by the Bankruptcy Court. The Bankruptcy Court may confirm this
Chapter 13 Plan without further notice if no objection to confirmation is filed. See
Fed.R.Bankr.P. 3015.

 

This Chapter 13 Plan does not allow claims. The fact that your claim is classified in this
Chapter 13 Plan does not mean that you will receive payment.

 

To All The Chapter 13 Plan contains no non-standard provisions other than those set out in
Parties: Section VII. The Debtor must check one box in the chart below indicating whether any
non-standard provision is Included or Not Included in Section VII of this Chapter 13
Plan.
Non-standard provisions, set out in Section VII. kK] Included | [J Not
3 Included

 

 

 

 

 

    

PLAN PAYMENTS AND LENGTH OF PLAN

The Debtor shall submit all or such portion of future earnings or other future income of the Debtor to
the supervision and control of the Chapter 13 Standing Trustee as is necessary for the execution of this
Chapter 13 Plan as required by 11 U.S.C. § 1322(a)(1). Payments by the Debtor will be made as set
forth in this Section II.

2.1 Payments to Chapter 13 Standing Trustee.
The Debtor will make payments to the Chapter 13 Standing Trustee as follows:

 

 

 

 

 

 

 

 

 

 

 

 

 

S$ 1,174,498 Pet, MONTH for 60 months.
$ per for months.
5 per for months.

 

 

 

 

 

 

 

 

 

If fewer than 60 months of payments are specified, additional monthly payments may be made to
the extent necessary to make the payments to creditors specified in this Chapter 13 Plan.

 

 

 

2.2 Source of Payments to the Chapter 13 Standing Trustee.

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Check all that apply.

X] The Debtor will make payments pursuant to a payroll deduction order.
Fill in employer information for payroll deduction:

 

Employer Name: STATE OF CONNECTICUT

 

 

Employer Address: OFFICE OF THE STATE COMPTROLLER

 

 

55 Etm STREET

HARTFORD, CT 06106-1775
Employee Identification No: | 149907

 

 

 

 

 

 

 

(Note: Redact SSN so only last 4 digits appear)

(-] The Debtor will make payments directly to the Chapter 13 Standing Trustee at the following
address (include case number on payment):
Roberta Napolitano, Chapter 13 Standing Trustee
PO Box 610
Memphis, TN 38101-0610

2.3 Income Tax Refunds.

Check one.

IX] The Debtor will retain any income tax refunds received during the plan term. Note the Chapter
13 Standing Trustee may reduce the Debtor's deduction for payment of taxes in calculating
disposable income if this option is selected.

CJ The Debtor will supply the Chapter 13 Standing Trustee with a copy of each income tax return
filed during the plan term within 14 days after filing the return and will turn over to the
Chapter 13 Standing Trustee all income tax refunds received during the Chapter 13 Plan term.

{"] The Debtor will treat income tax refunds as follows:

 

 

 

 

2.4 Additional Payments.
Check one.
K] None. Jf “None” is checked, the rest of this subpart need not be completed or reproduced.

[-] The Debtor will make additional payment(s) to the Chapter 13 Standing Trustee from other
sources, as specified below. Describe the source, estimated amount, and date of each anticipated

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

payment.
Source: Ia an t$: Date:
Source: mt ¢: Date:
Source: St in t¢: Date:

 

 

 

 

 

 

 

 

 

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2.5 Estimated Total Payments.
The estimated total payments to be made by the Debtor under this Chapter 13 Plan to the Chapter

13 Standing Trustee is:

$ | 70, 469,00

2.6 Order of Payments to Creditors by the Chapter 13 Standing Trustee
Payments by the Chapter 13 Standing Trustee to classes of claims shall be made in the following

 

 

 

 

order:
ATTORNEY FEES, PRIORITY CLAIM, SECURED CLAIMS, UNSECURED CLAIMS.

 

 

 

 

The Chapter 13 Standing Trustee shall make payments from the funds received from the Debtor
pursuant to this Chapter 13 Plan until satisfaction of all costs of administration, all claims entitled
to priority under 11 U.S.C. § 507, the present value of all allowed secured claims, and payments to

unsecured creditors as provided in this Chapter 13 Plan.

TREATMENT OF SECURED CLAIMS

   

3.1 Secured Claims That Will Not Be Modified.
Secured claims that will not be subject to a valuation motion pursuant to 11 U.S.C. § 506, or to
avoidance pursuant to 11 U.S.C. § 522(f), shall be described in this section. Check all that apply.

[] None. Jf “None” is checked, the rest of this subpart need not be completed or reproduced.
k] There are secured claims treated in this Chapter 13 Plan that are not going to be modified.

kK] Arrears payments (Cure) will be disbursed by the Chapter 13 Standing Trustee and regular
payments (Maintain) will be disbursed by the Debtor, as specified below.

 

 

 

 

 

 

 

1. Creditor: SHELLPOINT MoRTGAGE SERVICING
Last 4 Digits of (0 (6 Check one of the following:
Account No.: ws
k] Arrearage on Petition Date: $30, 727,47

 

 

 

 

[“] Balance on Arrearage Date:

 

 

Interest Rate on Balance: 4 62507

 

 

 

 

 

Regular Payment (Maintain) by Debtor:* 1225 ,31 /month

 

 

 

 

 

[x] Real Property
[X|Principal Residence Check below regarding real property taxes and
[_]Other (describe) insurance:
Mortgage payments include escrow for:
428-30 Encewoop St, Hrtp. CT x] Rel estate taxes
Address of Collateral: Homeowners Insurance

 

|_| Debtor pays directly for:
[ | Real estate taxes
|_| Homeowners Insurance

 

 

 

[_] Personal Property/Vehicle

 

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Description of Collateral (include first digit and last four digits of -
VIN# for any vehicle): LI UI LU U L

 

 

 

 

*Note: Amounts set forth in this section are estimates subject to reasonable adjustment.

 

 

 

 

 

 

2. Creditor: THE MeTROPOLITAN District
Last 4 Digits of [3| [9| [7] Check one of the following:
A tNo:
ccount INO [y] Arrearage on Petition Date: $8,556.31

 

 

 

 

["] Balance on Arrearage Date:

 

 

 

Interest Rate on Balance:

 

 

 

 

 

Regular Payment (Maintain) by Debtor:*| 100,00 /month

 

 

 

 

ly] Real Property
[Principal Residence Check below regarding real property taxes and
[_lOther (describe) HISHTANCe:
[_] Mortgage payments include escrow for:
‘428-30 Epgewoon St, Hetp, CT ["] Real estate taxes
Address of Collateral: (_] Homeowners Insurance

 

[_] Debtor pays directly for:
| | Real estate taxes
[_] Homeowners Insurance

 

 

 

["] Personal Property/Vehicle
Description of Collateral (include first digit and last four digits of -
VIN# for any vehicle): U LU LU U U

 

 

 

 

*Note: Amounts set forth in this section are estimates subject to reasonable adjustment.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

3. Creditor:
Last 4 Digits of [| [| [| [| Check one of the following:
Account No.: _.
[-] Arrearage on Petition Date:
["] Balance on Arrearage Date:
Interest Rate on Balance:
Regular Payment (Maintain) by Debtor:* /month
[] Real Property
[]Principal Residence Check below regarding real property taxes and
[ |Other (describe) IDSUTeNCe.

[_] Mortgage payments include escrow for:
[ | Real estate taxes
[_| Homeowners Insurance

 

 

 

 

 

 

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Address of Collateral: [| Debtor pays directly for:
[_] Real estate taxes
[| Homeowners Insurance

 

 

 

 

[_] Personal Property/Vehicle

Description of Collateral (include first digit and last four digits of -
VIN# for any vehicle): U [ LI LJ LU

 

 

 

 

*Note: Amounts set forth in this section are estimates subject to reasonable adjustment.

 

Unless otherwise ordered by the Court, the amounts listed on a proof of claim filed before the filing
deadline under Fed.R.Bankr.P. 3002(c) control over any contrary amounts listed above as to the
current installment payment and arrearage. In the absence of a contrary, timely filed proof of claim,
the amounts stated above are controlling. If relief from the automatic stay is ordered as to any item
of Collateral listed in this Section, then, unless otherwise ordered by the Court, all payments under
this paragraph by the Chapter 13 Standing Trustee as to that Collateral will cease, and all secured
claims based on that Collateral will no longer be treated by this Chapter 13 Plan.

The Debtor shall pay current real property taxes, personal property taxes, and insurance for property
(Collateral) to be retained prior to and after confirmation of any Chapter 13 Plan.

3.2. Secured Claims Subject to Valuation Motion.
[1] None. If “None” is checked, the rest of this subpart need not be completed or reproduced.
[X The Debtor intends to seek an order of the Bankruptcy Court valuing a claim pursuant to 11

USS.C. § 506.
Secured Claims that are Subject to a Separate Motion or Adversary Proceeding Based on

Valuation.

Valuations under 11 U.S.C. § 506 may be sought to determine how a secured creditor's claim will
be treated in a chapter 13 plan. This Chapter 13 Plan does not value claims. To value a claim
pursuant 11 U.S.C. § 506, the Debtor must file and serve a separate motion pursuant to
Fed.R.Bankr.P. 3012, 7004 and 9014(b). Any other form of relief sought by a debtor, including a
determination of the extent, validity, and/or priority of a secured creditor’s lien, must be determined
in an adversary proceeding pursuant to Fed.R.Bankr.P. 7001.

The information provided below is for information purposes only, and the Debtor's valuation stated
herein is subject to change, without the need to modify this Chapter 13 Plan, based on the
resolution of any motion or adversary proceeding on valuation. The amount of the creditor's claim
in excess of the valuation determined by the Court for the Collateral shall be treated with other
general unsecured claims and paid pro rata provided that the creditor timely files a proof of claim.

The Debtor intends to file a motion requesting that the Court determine the value of the secured
claims listed below. For each non-governmental secured claim listed below, the Debtor states that
the value of the secured claim should be as set out below. For secured claims of governmental
units, unless otherwise ordered by the Court, the value of a secured claim listed in a proof of claim
controls over any contrary amount listed below. For each listed claim, the value of the secured
claim as determined by the Court will be paid in full with interest at the rate stated below, upon an
order of the Court on the Debtor's Motion.

The portion of any allowed claim that exceeds the amount of the secured claim will be treated as an
unsecured claim under Section V of this Chapter 13 Plan. If the amount of a creditor’s secured

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claim is listed below as having no value, the creditor’s allowed claim will be treated in its entirety
as an unsecured claim under Section V of this Chapter 13 Plan. Unless otherwise ordered by the
Court, the amount of the creditor’s total claim listed on the proof of claim controls over any
contrary amounts listed in this paragraph.

The holder of any claim listed below will retain the lien on the Collateral of the Debtor or the
estate(s) until the earlier of:

(a) payment of the underlying debt determined under nonbankruptcy law, or
(b) discharge of the underlying debt under 11 U.S.C. § 1328, at which time the lien will terminate.

1. Real Property: XK] NONE

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

L. Creditor: Creditor's Total Claim Amount: Proposed Secured Claim osed Secured Claim
moun

4 Divits of Total Secured Claim to be treated
Last 4 Digits o [| [| [| [| Value of Collateral: in this Chapter 13 Plan:
Account No.:
Real Property
[_|Principal Residence Secured Portion of Creditor's If claim is for taxes, list principal
[_|Other (describe) Lien: amount of tax:
Address of Collateral: secures Portion of Creditor's

claim*:

 

 

 

 

 

 

 

 

 

Interest Rate:

 

 

 

Check below regarding real
property taxes and insurance:

|_] Mortgage payments include

escrow for:
[ | Real estate taxes

|_| Homeowners Insurance
[| Debtor pays directly for:
[_] Real estate taxes

|] Homeowners Insurance
*Unsecured portion will be treated
in Section IV or V, as appropriate.

 

 

 

 

 

 

 

 

 

 

 

 

2. Creditor: Creditor's Total Claim Amount: Proposed Secured Claim
Amount

_ Total Secured Claim to be treated
Last Eats at LI] [| [| [| Value of Collateral: in this Chapter 13 Plan:
Account No.:
Real Property
[ |Principal Residence Secured Portion of Creditor's If claim is for taxes, list principal
[JOther (describe) Lien: amount of tax:

 

 

 

 

 

 

 

 

 

 

 

 

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Address of Collateral:

 

 

 

Unsecured Portion of Creditor's
claim*:

 

 

 

 

 

Interest Rate:

 

 

 

Check below regarding real
property taxes and insurance:

_] Mortgage payments include

escrow for:
[ ] Real estate taxes

[_] Homeowners Insurance
[| Debtor pays directly for:

[_] Real estate taxes

[| Homeowners Insurance

*Unsecured portion will be treated
in Section IV or V, as appropriate.

 

3. Creditor:

Creditor's Total Claim Amount:

 

 

 

 

Last 4 Digits of [| | [| [|

Account No.:

Real Property
[_|Principal Residence
[]Other (describe)

 

 

 

 

Address of Collateral:

 

 

 

 

 

Value of Collateral:

Proposed Secured Claim
Amount

Total Secured Claim to be treated
in this Chapter 13 Plan:

 

 

 

 

 

Secured Portion of Creditor's
Lien:

 

 

 

If claim is for taxes, list principal
amount of tax:

 

 

 

Unsecured Portion of Creditor's
claim*:

 

 

 

 

Interest Rate: |

Check below regarding real
property taxes and insurance:

 

(_] Mortgage payments include

escrow for:
[] Real estate taxes

|_|] Homeowners Insurance
[| Debtor pays directly for:
[| Real estate taxes

[_] Homeowners Insurance
*Unsecured portion will be treated
in Section IV or V, as appropriate.

 

 

 

2. Vehicles:

[|] NONE

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Check one below:

] Claim incurred 910 days or
more pre-petition

[| Claim incurred less than 910
days pre-petition

 

1. Creditor: Value of Collateral:
We_ts Farco DeALcer Ser}.|| $3,874,00
Last 4 Digits of [2| [2| [3] Value of Creditor's Lien:
Account No.:

$4,942 00

 

 

 

 

 

 

18,07

Description of Collateral (include
first digit and last four digits of
VIN# for any vehicle):

LI UO

Interest Rate:

 

 

2011 Lincorn HyBrrp MKi

 

i

 

Payment

Total Secured Claim to be treated
in this Chapter 13 Plan:

 

$3,874 , 00

 

If claim is for taxes, list principal
amount of tax:

 

 

 

 

2. Creditor:

Value of Collateral:

 

 

 

 

Last 4 Digits of [| [| [| [|

Account No.:

Check one below:

[_] Claim incurred 910 days or
more pre-petition

[_] Claim incurred less than 910
days pre-petition

Value of Creditor's Lien:

 

 

 

 

 

Interest Rate:

 

 

 

Description of Collateral (include
first digit and last four digits of
VIN# for any vehicle):

(OU

 

 

 

Payment

Total Secured Claim to be treated
in this Chapter 13 Plan:

 

 

 

If claim is for taxes, list principal
amount of tax:

 

 

 

 

 

 

 

 

3. Creditor:

Value of Collateral:

 

 

 

 

Last 4 Digits of [| [| [| [|

Account No.:

Check one below:

_] Claim incurred 910 days or
more pre-petition

[|] Claim incurred less than 910
days pre-petition

 

Value of Creditor's Lien:

 

 

 

 

 

 

 

Interest Rate:

 

Description of Collateral (include
first digit and last four digits of
VIN# for any vehicle):

(O00

 

 

 

 

 

 

Payment

Total Secured Claim to be treated
in this Chapter 13 Plan:

 

 

 

 

If claim is for taxes, list principal
amount of tax:

 

 

 

 

 

3. Personal Property:

["] NONE

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Payment

Total Secured Claim to be treated
in this Chapter 13 Plan:

 

 

 

600 00

 

 

 

 

 

 

 

1. Creditor: Value of Collateral:
PROGRESSIVE LEASING 600 , 00
Last 4 Digits of o| B | Value of Creditor's Lien:
Account No.:
$1,311.27
Check one below:
[x] Claim incurred one (1) year Interest Rate:

or more pre-petition.
J Claim incurred less than one
(1) year post-petition.

Description of Collateral:

If claim is for taxes, list principal
amount of tax:

 

 

 

Dramonp RING

 

 

 

2. Creditor:

Value of Collateral:

 

 

 

 

Last 4 Digits of [| [| [| L]

Account No.:

Check one below:

[] Claim incurred one (1) year
or more pre-petition.

(_] Claim incurred less than one
(1) year post-petition.

Value of Creditor's Lien:

Payment

Total Secured Claim to be treated
in this Chapter 13 Plan:

 

 

 

 

 

 

 

Interest Rate: [|

Description of Collateral:

If claim is for taxes, list principal
amount of tax:

 

 

 

 

 

 

 

3. Creditor:

Value of Collateral:

 

 

 

 

Last 4 Digits of [| [| [| [|

Account No.:

Check one below:

[_] Claim incurred one (1) year
or more pre-petition.

[_] Claim incurred less than one
(1) year post-petition.

Value of Creditor's Lien:

Payment

Total Secured Claim to be treated
in this Chapter 13 Plan:

 

 

 

 

 

 

Interest Rate: [

Description of Collateral:

If claim is for taxes, list principal
amount of tax:

 

 

 

 

 

 

 

 

 

 

3.3 Secured Claims Subject To Avoidance (11 U.S.C. § 522(f)).

xl None. /f “None” is checked, the rest of this subpart need not be completed or reproduced.

[| The Debtor is seeking to avoid the fixing of judicial liens pursuant to 11 U.S.C. § 522(f).
Judicial liens or nonpossessory, nonpurchase money security interests securing the claims may
be avoided to the extent that they impair the exemptions under 11 U.S.C. § 522(f) as listed
below. A separate motion must be filed and served pursuant to Fed.R.Bankr.P. 7004 and

applicable local rules.

To avoid liens pursuant to 11 U.S.C. § 522(f), the Debtor must file and serve a separate motion on
the affected creditor(s) pursuant to Fed.R.Bankr.P. 3012, 7004 and 9014(b). The Debtor may at a
later date seek to avoid a judicial lien held by a creditor not listed below. The details below are
provided for informational purposes only, and are subject to change, without the need to modify this
Chapter 13 Plan, based on the resolution of the Debtor's motion to avoid lien. The amount of the
creditor's avoided lien, if any, shall be treated with other general unsecured claims and paid pro rata
provided that the creditor timely files a proof of claim. The amount of the judicial lien or security
interest that is avoided will be treated as an unsecured claim in Section IV or V as applicable, to the
extent allowed. The amount, if any, of the judicial lien or security interest that is not avoided will be

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paid in full as a secured claim under this Chapter 13 Plan. See, 11 U.S.C. § 522(f) and
Fed.R.Bankr.P. 4003(d). The Debtor discloses the intention to avoid liens held by the following

 

 

 

 

 

 

 

 

 

 

 

 

 

 

creditors.
1. Creditor: Collateral:
Last 4 Digits of Account No.: [| [| [| [| oxomptio ti
cei Chim cod tecained

 

 

 

 

 

 

Amount of Claim to be treated
as unsecured claim:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

2. Creditor: Collateral:
Last 4 Digits of Account No.: [| [| [| [| sccrnption
x i
Total Amount of Amount of exemption that
Creditor's Claim: could be claimed:

 

 

 

 

 

 

Amount of Claim to be treated
as unsecured claim:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

3. Creditor: Collateral:
Last 4 Digits of Account No.: [| [| [| [| nenotion
exemption:
Total A t of
Creditor Claing Amount of exemption that
, could be claimed:

 

 

 

 

 

 

Amount of Claim to be treated
as unsecured claim:

 

 

 

 

 

 

3.4 Surrender of Collateral.

K] None. If “None” is checked, the rest of this subpart need not be completed or reproduced.
(‘| The Debtor elects to surrender to each creditor listed below the Collateral identified.

[-] Upon the entry of an order confirming this Chapter 13 Plan, pursuant to 11 U.S.C. § 1327(b)
and Fed.R.Bankr.P. 3015(g)(2), the Debtor requests that the stay of an act against property of
the estate provided in 11 U.S.C. §§ 362(a) and 1301 (a) be terminated as to the Collateral
surrendered to each creditor listed below pursuant to this Chapter 13 Plan.

Name of Credifor Last 4 Digits of Account Description of Collateral (Address, Vehicle,
No etc.)

. good

 

 

 

 

 

 

 

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Last 4 Digits of Account Description of Collateral (Address, Vehicle,
No. etc.)

, good
: nooo

Name of Creditor

 

 

 

 

 

 

 

 

 

 

 

 

TV. TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. § 507 and [1 U.S.C. § 1322(a)(4)]

   

4.1 Applicability Of Post-Petition Interest.
The Chapter 13 Standing Trustee's fees and all allowed priority claims, including domestic support
obligations other than those treated in Section 4.4, will be paid in full without post-petition interest.
If the court determines the Debtor is solvent or is to be treated as solvent under this Chapter 13 Plan,
the Court may order post-petition interest be paid on claims.

If this Chapter 13 Plan proposes to pay post-petition interest on priority claims because the Debtor is
being treated as if he or she were solvent, then interest shall be paid, if applicable, as follows: 18%
interest per annum to creditors holding priority and general unsecured, municipal tax claims; 12%
interest per annum to the State of Connecticut Department of Revenue Service's priority and general
unsecured state tax claims; and, % interest per annum to the Internal Revenue Service's
priority and general unsecured federal tax claims.

4.2 Trustee's Fees.
The Chapter 13 Standing Trustee's fees are governed by statute and may change during the course of
the case but are estimated to be 10% of plan payments.

4.3 Administrative Attorney's Fees. [| PRO BONO

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Total Fees: Total Expenses: Paid Prior to Confirmation: Balance Due:
$4000 ,00 $200 00 $1,500 ,00 $2,500.00
Total Allowance Sought: $7? ,/00,00 (Fees and Expenses)
Payable [Check one] XX] Through this Chapter 13 Plan
$7,500.00 [_] Outside of this Chapter 13 Plan
Payable [Check one] ["] Through this Chapter 13 Plan
$700.00 ¥] Outside of this Chapter 13 Plan
Payable [Check one] [| Through this Chapter 13 Plan
[| Outside of this Chapter 13 Plan

 

 

 

Attorneys shall file applications for allowance of compensation and reimbursement of expenses
pursuant to 11 U.S.C. § 330 if the total allowance sought exceeds $4,000.00 before confirmation of
this Chapter 13 Plan. The Court will consider allowance of compensation and reimbursement of
expenses without such an application if the total allowance sought equals or is less than $4,000.00.

4.4 Domestic Support Obligation(s).

[Xl None. If “None” is checked, the rest of this subpart need not be completed or reproduced.

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The allowed priority claims listed below are based on domestic support obligations,

including domestic support obligations that have been assigned to or are owed to a

governmental unit and will be paid less than the full amount of the claim under 11 U.S.C.

§ 1322(a)(4).

[] There are domestic support obligations.

If this Chapter 13 Plan proposes less than full payment of a domestic support obligation then
payments in this section shall be for a term of 60 months. See, 11 U.S.C. § 1322(a)(4). If the Debtor
has domestic support obligations, use only the initials of minor children and do not list confidential

information.

 

 

1. Name of Creditor: |

 

 

 

 

Proof of Claim Number:

 

["] Current and paid outside of this Chapter 13 Plan.

[] Not Current, and to be paid under this Plan as follows:

 

2. Name of Creditor:

Proof of Claim Number: |

[] Current and paid outside of this Chapter 13 Plan.

 

[] Not Current, and to be paid under this Plan as follows:

 

 

 

 

 

3. Name of Creditor:

 

 

 

 

Proof of Claim Number:

 

["] Current and paid outside of this Chapter 13 Plan.

 

[] Not Current, and to be paid under this Plan as follows:

 

4.5 Priority Claims.
[] None. If “None” is checked, the rest of this subpart need not be completed or reproduced.

This Chapter 13 Plan may provide for less than full payment of all claims entitled to priority under
11 U.S.C.§ 507(a)(1)(b) only if the Chapter 13 Plan provides that all of the Debtor's projected
disposable income for a 5-year period beginning on the date that the first payment is due under this
Chapter 13 Plan will be applied to make payments under the Chapter 13 Plan. This Chapter 13 Plan
treats claims entitled to priority pursuant to 11 U.S.C. § 507 and 11 U.S.C. § 1322(a)(4), as follows:

 

 

 

 

1. Name of Creditor: | U,S, Dept, oF THE TREASURY

 

 

 

 

 

Proof of Claim Number: 1

 

 

 

 

 

 

 

Total Due: | 1672, 36 |
Amount of Principal Due: 1269 ,20
Amount of Interest Due: 403,16 |

 

 

 

 

 

Interest to be Paid Through Chapter 13 Plan? [x] Yes [_]No Interest Rate:

 

 

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2. Name of Creditor:

Proof of Claim Number:

Total Due:

 

 

 

 

 

Amount of Principal Due:

 

 

 

 

Amount of Interest Due:
Interest to be Paid Through Chapter 13 Plan? [-] Yes [_]No Interest Rate:

 

 

 

 

 

 

 

3. Name of Creditor:

 

 

 

 

Proof of Claim Number:

 

 

Total Due:

 

 

 

Amount of Principal Due:

 

 

 

Amount of Interest Due: |
Interest to be Paid Through Chapter 13 Plan? [_] Yes _]No Interest Rate:

 

 

 

 

 

 

 

 

TREATMENT OF UNSECURED NON-PRIORITY CREDITORS

 

5.1. Unsecured Non-Priority Claims, Dividend To Be Paid.

[-] None. Jf “None” is checked, the rest of this subpart need not be completed or reproduced.

Through this Chapter 13 Plan the Debtor proposes to pay the general unsecured creditors
holding claims totaling:

 

 

 

$15,491 ,98
a dividend of 1007 | over a period of 60 months.

 

 

 

 

 

 

 

 

 

 

If the Debtor is being treated as solvent under this Chapter 13 Plan (so that unsecured creditors receive
100% of their claims plus interest), the interest rate to be paid to unsecured, non-tax claims is

 

 

 

% per annum.

 

EXECUTORY CONTRACTS AND UNEXPIRED LEASES

 

XK] None. Jf “None” is checked, the rest of this section need not be completed or reproduced.

CI The Debtor is seeking to assume or reject executory contracts or unexpired leases in this
Plan pursuant to 11 U.S.C. § 365. The details of the executory contract and/or unexpired
lease the Debtor is seeking to assume and/or reject is set forth below.

(] Assumed Contracts or Leases. The Debtor shall make current installment payments or
lease payments as specified below, subject to any contrary Court order or rule. Arrearage
payments will be disbursed by the Chapter 13 Standing Trustee pursuant to the
confirmation order.

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Name of Creditor | Description of |Current Installment Amount of Treatment of
Leased Property Payment Arrearage to be aii oo
: 0 er rian
or Executory Paid Section if
Contract Applicable)
$ $
Proof of Claim
Number: To be paid by To be disbursed
Debtor. by Trustee.
$ $
Proof of Claim .
Number: To be paid by To be disbursed
Debtor. by Trustee.
$ $
Proof of Claim
Number: To be paid by To be disbursed
Debtor. by Trustee.

 

 

 

 

 

 

 

 

 

[|_| Rejected Contracts or Leases

 

Description of Leased Property or | Estimated Claim to Be

Name of Creditor Executory Contract Treated in Section V

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Notice of Proof of Claim Bar Date:

The counter-party to a rejected contract or rejected lease shall file a proof of claim within thirty (30)
days after entry of an order confirming this Chapter 13 Plan.

NON-STANDARD PLAN PROVISIONS

 

[] None. [f “None” is checked, the rest of this section need not be completed or reproduced.

Non-standard provisions must be set forth below, or in an attachment. A non-standard
provision is a provision not otherwise included in the Local Form Chapter 13 Plan or
deviating from it. Non-standard provisions set out elsewhere in this Chapter 13 Plan are void.

 

VEHICLE PAYMENTS ARE INCLUDED IN THE PLAN,

 

 

 

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PURSUANT TO 11 U.S.C. § 1327(b), PROPERTY OF THE ESTATE WILL VEST
IN THE DEBTOR UPON ENTRY OF AN ORDER CONFIRMING THIS CHAPTER 13 PLAN.

I declare that the information set forth in the foregoing Chapter 13 Plan is true and correct and is sworn to
under penalty of perjury. By signing and filing this document each Debtor certifies that the wording
and order of the provisions in this Chapter 13 Plan are identical to those contained in the
Connecticut Local Form Chapter 13 Plan and that this Chapter 13 Plan contains no non-standard
provisions other than those set out in Section VII.

 

/s/ LINDA CAROL BREWER

 

 

 

 

 

 

 

 

 

(Debtor Signature) (Joint Debtor Signature)
LinpA Carol BREWER 4/19/2019
Debtor (Type Name) Date Joint Debtor (Type Name) Date

 

s/JEANETTE CHamBers || 4/18/2019

Attorney with permission to Date
sign on Debtor's behalf

 

 

 

 

 

[Note: Each attorney signature on this document is subject to Fed.R.Bankr.P. 9011.]

Note: An original document with the Debtor's inked signature must be maintained by Debtor's attorney.

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